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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


UNITED STATES OF AMERICA,et al..

                      Plaintiffs,

                                                  Civil Action No. 1:23cv0108(LMB/JFA)

GOOGLE LLC,

                      Defendant.



                                                ORDER


       On May 23, 2025, plaintiffs filed a motion for leave to file under seal exhibits 4, 5, and 6;

portions of exhibits 1, 2, and 3; and portions of the memorandum in support of their motion to

compel. (Docket no. 1442). In the memorandum in support of the motion to seal, plaintiffs state

that the information sought to be sealed is based on defendant designating that information as

confidential. (Docket no. 1443). Defendant has filed a response to the motion to seal (Docket

no. 1451) and a supplemental response (Docket no. 1455). No other person or entity has filed a

response or objection to this motion to seal.

       Defendant's response seeks to have only the information redacted on pages 3 and 4 of

plaintiffs' memorandum in support of their motion to compel remain under seal. Defendant

requests that the redacted information contained in exhibits 1 and 3 to plaintiffs memorandum

remain under seal. Along with defendant's response, defendant has filed in the public record a

revised version of exhibit 2 with limited redactions, and a redacted version of exhibits 4, 5, and 6

that were filed under seal by plaintiffs. Defendant asks that the information it has redacted in

those exhibits remain under seal.
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       This motion to seal concerns materials submitted to the court for review on a motion to

compel and therefore any information to be filed under seal must satisfy the "common law"

standard discussed in Va. Dep 7 ofState Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004).

Having reviewed plaintiffs' memorandum in support of their motion to compel and the exhibits

attached to that memorandum, it appears that the information specified by defendant in its

response contains non-public, confidential information of a sensitive nature and certain personal

information of some of defendant's employees. Accordingly, the court finds that for the

purposes of this motion,that information may remain under seal at this time. For these reasons,

it is hereby

         ORDERED that the motion to seal is granted in part and denied in part. The court finds

that the information that was redacted on pages 3 and 4 of plaintiffs' memorandum in support of

their motion to compel should remain under seal. Plaintiffs shall file in the public record a

version of their memorandum that includes the information that had previously been redacted on

pages 10 through 14, 16, and 17. The court also finds that exhibits 1 and 3 shall remain under

seal. Finally, the court finds that the redactions proposed by defendant in exhibits 2 and 4

tlirough 6 are appropriate and that the redacted versions of those exhibits have been filed in the

public record by defendant.

        Entered this 6th day of June, 2025.
                                                     John F. Anderson
                                                     UnitPri RtatRs Magistrate JuogQ
                                                      John F. Anderson
Alexandria, Virginia                                  United States Magistrate Judge
